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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION

PROFESSOR MASAHIRO IIDA,

                      Plaintiff,

     v.                                     Civil Action No. 6:22-cv-00662-ADA

INTEL CORPORATION,                          JURY TRIAL DEMANDED

                      Defendant.


  INTEL CORPORATION’S OPPOSED MOTION TO STAY PENDING TRANSFER
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I.     Introduction

       Defendant Intel Corporation respectfully moves to stay this case pending resolution of its

Motion for Intra-District Transfer to the Austin Division. Dkt. 33. Intel timely filed its transfer

motion on September 23, 2022, less than three months after Plaintiff Masahiro Iida filed this suit,

and that motion became ripe for decision on January 13, 2023. Significant merits proceedings are

quickly approaching: the Markman hearing is scheduled for March 31, 2023; fact discovery will

begin around the same time; and the deadlines for the parties’ final infringement and invalidity

contentions will follow soon after in May. Both the Federal Circuit and the Fifth Circuit have made

clear that motions for transfer pursuant to 28 U.S.C. § 1404(a) must be resolved before a case

proceeds into such substantive merits proceedings. Heeding this directive in this case necessitates

granting a stay until Intel’s transfer motion is decided. And because a stay will preserve judicial

resources, prevent unnecessary hardship to Intel, and impose no prejudice on Plaintiff, this motion

should be granted.

II.    Factual Background

       Plaintiff filed this case on June 24, 2022, alleging that Intel’s field programmable gate array

(“FPGA”) devices infringe U.S. Patent No. 6,812,737. Dkt. 1, Compl., ¶¶ 39, 56. Plaintiff’s

Complaint admits that “Intel maintains a campus” in Austin. See id. ¶¶ 16–17. The Complaint also

acknowledges that there are over two dozen Intel employees in the Austin Division who “have

worked, and presently work, on the design, sale, and support of the Accused Products.” See id. ¶ 27

& n.8. Thus, Plaintiff’s own pleading establishes that relevant witnesses and evidence are in

Austin. Given the lack of any relevant witnesses or evidence in Waco, Intel moved for intra-district

transfer to this Court’s Austin Division on September 23, 2022. Dkt. 33, 35. That motion has been




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“fully briefed and ready for resolution” since January 13, 2023. Dkt. 50, Jan. 13, 2023 Status

Report.

          The Court’s orders in this case set the Markman hearing for March 31, 2023; the opening

of fact discovery for around the same time; and the deadline to serve final infringement and

invalidity contentions for May 18, 2023. See Dkts. 41, 58. Given these and other looming merits

deadlines, Intel now seeks a stay pending a decision on its motion to transfer.

III.      The Court Should Stay the Proceedings Pending Resolution of Intel’s Motion to
          Transfer.

          A.     The Court has the inherent authority to issue a stay to ensure that resolution
                 of venue issues is afforded “top priority.”

          “The power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).

          The Federal and Fifth Circuits agree that transfer is a threshold matter that a district court

must address at the outset of the litigation. In re Horseshoe Ent., 337 F.3d 429, 433 (5th Cir. 2003);

In re Apple, Inc., 52 F.4th 1360, 1361 (Fed. Cir. 2022). The transfer statute is designed “to protect

litigants, witnesses and the public against unnecessary inconvenience and expense.” Cont’l Grain

Co. v. The Barge FBL-585, 364 U.S. 19, 27 (1960). This fundamental purpose of the transfer

statute is “thwarted” when protracted litigation occurs in a clearly inconvenient venue before

transfer is resolved. In re Apple, 52 F.4th at 1361 (quoting In re EMC Corp., 501 F. App’x 973,

975–76 (Fed. Cir. 2013)). Thus, defendants must move to transfer promptly at the outset of a case,

and district courts must rule on transfer motions promptly. See In re Wyeth, 406 F. App’x 475, 477

(Fed. Cir. 2010) (citation omitted); In re Apple, Inc., 979 F.3d 1332, 1337–38 (Fed. Cir. 2020).

The Federal Circuit has repeatedly reinforced the directive that “once a party files a transfer

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motion, disposition of that motion should unquestionably take top priority.” In re Apple, 979 F.3d

at 1337; see In re Horseshoe, 337 F.3d at 433 (“[I]n our view disposition of that [transfer] motion

should have taken a top priority in handling of this case by the . . . District Court.”); In re Apple,

52 F.4th at 1363; In re TracFone Wireless, Inc., 848 F. App’x 899, 900–01 (Fed. Cir. 2021); In re

SK hynix Inc., 835 F. App’x 600, 600–01 (Fed. Cir. 2021); In re Google Inc., No. 2015-138, 2015

WL 5294800, at *1–2 (Fed. Cir. July 16, 2015).

       With the Markman hearing, fact discovery, and final contentions fast-approaching, heeding

the Federal Circuit’s directive to prioritize resolution of pending transfer motions necessitates an

order staying this case until Intel’s transfer motion is resolved.

       B.      A court’s duty to afford transfer motions “top priority” applies equally to
               intra-district transfer motions.

       The Federal and Fifth Circuits’ directive to prioritize transfer motions applies equally to

motions seeking inter-district transfer and those seeking intra-district transfer. Section 1404(a)

does not distinguish between inter-district and intra-district transfer; rather, the statute’s plain

language places intra-district transfer and inter-district transfer on equal footing: “For the

convenience of the parties and witnesses, in the interest of justice, a district court may transfer any

civil action to any other district or division.” 28 U.S.C. § 1404(a) (emphasis added). Moreover,

“[t]he § 1404(a) factors apply as much to transfers between divisions of the same district as to

transfers from one district to another.” In re Radmax, Ltd., 720 F.3d 285, 288 (5th Cir. 2013).

       Intel acknowledges that this Court recently denied a motion to stay pending resolution of

an intra-district transfer motion, concluding that trial courts enjoy greater discretion in deciding

intra-district transfer motions than in deciding inter-district transfer motions. SpaceTime3D, Inc.

v. Apple Inc., No. 6:22-CV-00149-ADA, slip op. at 3–5 (W.D. Tex. Feb. 2, 2023), Dkt. 78,



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mandamus petition pending, In re Apple, Inc., No. 23-120 (Fed. Cir.). 1 But even if the case law

establishes that “trial courts have even greater discretion in granting intra-district transfers than

they do in the case of inter-district transfers,” True Chem. Sols., LLC v. Performance Chem. Co.,

No. 7-18-CV-00078-ADA, 2021 WL 860009, at *1 (W.D. Tex. Mar. 8, 2021) (emphasis added),

nothing in the case law indicates that a trial court’s discretion extends to affording lower priority

to intra-district transfer motions than to inter-district transfer motions. If anything, the case law

indicates just the opposite. See In re True Chem. Sols., LLC, 841 F. App’x 240, 241 (Fed. Cir.

2021) (citing Radmax, 720 F.3d at 289, for the observation that, “in the context of a § 1404(a)

case, . . . the traditional deference given to plaintiff’s choice of forum . . . is less for intra-district

transfers” (internal quotation marks omitted)).

        The circumstances in SpaceTime3D v. Apple are also distinguishable from the

circumstances here. In SpaceTime3D, the transfer motion was not ready for resolution until the

week before the originally-scheduled Markman hearing, and the Court was confronted with a

motion to stay on the eve of that hearing, after it had already expended resources in issuing

preliminary constructions and the parties had prepared for the hearing. See SpaceTime3D, slip op.

at 1–2, 5. Here, by contrast, Intel’s transfer motion was fully briefed over two months before the

scheduled Markman hearing, and Intel is moving for a stay well in advance of the Markman

hearing date. This case thus presents much more compelling circumstances for a stay so that the

Court can ensure that the litigation proceeds in the more convenient forum and avoid unnecessary

expenditures of resources—the very purpose of § 1404(a). Accordingly, the Court should stay this



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 Intel understands that a mandamus proceeding is currently pending on this issue, and the outcome
of that proceeding may impact the resolution of this Motion. In re Apple, Inc., No. 23-120 (Fed.
Cir.). Intel nonetheless files this Motion now to avoid any claim of undue delay and to allow this
Motion to be fully briefed in advance of the scheduled Markman hearing on March 31, 2023.
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case pending resolution of Intel’s transfer motion, as it has previously done in other cases with

pending intra-district transfer motions. See, e.g., Sonrai Memory Ltd. v. Oracle Corp., Case No.

6:21-CV-00116-ADA (W.D. Tex. Jan. 02, 2022) (docket order); Sensor Elec. Tech., Inc. v. Lite-

On Tech. Corp., Case No. 21-CV-00322-ADA (W.D. Tex. Aug. 25, 2022), Dkt. 65; Nitek, Inc. v.

Lite-On Tech. Corp., 21-CV-00794-ADA (W.D. Tex. Aug. 26, 2022), Dkt. 56.

       C.      All relevant factors favor a stay.

       Courts in this District consider three factors to determine whether a stay is warranted:

(1) any potential prejudice to the non-moving party; (2) the hardship and inequity to the moving

party if the action is not stayed; and (3) the judicial resources saved if a stay is granted. Yeti

Coolers, LLC v. Home Depot U.S.A., Inc., No. 1:17-CV-342-RP, 2018 WL 2122868, at *1 (W.D.

Tex. Jan. 8, 2018); B & D Produce Sales, LLC v. Packman1, Inc., No. SA-16-CV-99-XR, 2016

WL 4435275, at *1 (W.D. Tex. Aug. 19, 2016). Here, all three factors favor a stay.

               1.      A short stay will not prejudice Plaintiff.

       A short stay will not prejudice Plaintiff. Plaintiff does not compete with Intel or “sell any

product that practices the claimed invention,” and Plaintiff is not seeking any injunctive relief in

this case. See In re Morgan Stanley, 417 F. App’x 947, 950 (Fed. Cir. 2011); see Dkt. 1. Rather,

the asserted ’737 patent has expired, and Plaintiff seeks only monetary damages.

       As to Plaintiff’s claim for damages, a “mere delay in collecting . . . damages does not

constitute undue prejudice.” Crossroads Sys., Inc. v. Dot Hill Sys. Corp., No. A-13-CA-1025-SS,

2015 WL 3773014, at *2 (W.D. Tex. June 16, 2015); see Kirsch Rsch. & Dev., LLC v. Tarco

Specialty Prods., Inc., No. 6:20-CV-00318-ADA, 2021 WL 4555804, at *2 (W.D. Tex. Oct. 4,

2021) (“The weight of Plaintiff’s interest in timely enforcement is diminished here where a stay

would merely delay Plaintiff’s potential monetary recovery.”); SanDisk Corp. v. Phison Elecs.

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Corp., 538 F. Supp. 2d 1060, 1067 (W.D. Wis. 2008) (“Plaintiff’s only real ‘injury’ is that it will

have to wait for any money damages, which is always the case when a stay is imposed”). Even if

Plaintiff could show that it will suffer some economic disadvantage from a stay, it has a simple

remedy if ultimately successful on the merits in the form of pre-judgment interest. See Underwater

Devices Inc. v. Morrison-Knudsen Co., 717 F.2d 1380, 1389 (Fed. Cir. 1983), overruled on other

grounds by In re Seagate Tech., LLC, 497 F.3d 1360 (Fed. Cir. 2007). Additionally, as a general

matter, “delay in the vindication of patent rights . . . is present in every case in which a patentee

resists a stay, and it is therefore not sufficient, standing alone, to defeat a stay motion.” NFC Tech.

LLC v. HTC Am., Inc., No. 2:13-CV-1058-WCB, 2015 WL 1069111, at *2 (E.D. Tex. Mar. 11,

2015). And because Intel is not Plaintiff’s competitor, Plaintiff cannot show that it is “in need of

a quick resolution of this case because its position in the market is threatened.” See In re Morgan

Stanley, 417 F. App’x at 950. Because a stay will not impose any meaningful prejudice on Plaintiff,

this factor strongly favors granting a stay.

               2.      Intel will suffer hardship absent a stay.

       Absent a stay pending a ruling on transfer, this case will progress into substantial merits

proceedings in a matter of weeks, which will impose significant hardship on Intel. As noted, the

Markman hearing in this case is scheduled to occur on March 31, 2023, with fact discovery opening

around the same time and the deadlines for final infringement and invalidity contentions following

quickly thereafter. These “are not merely rote, ministerial tasks”; instead, “a Markman hearing and

claim construction order are two of the most important and time-intensive substantive tasks a

district court undertakes in a patent case.” In re Apple, 979 F.3d at 1338. Moving forward now

with such substantive merits activity will risk the very same “waste of time, energy, and money”




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that § 1404(a) is intended to prevent, and the Federal Circuit has cautioned against. In re Google,

2015 WL 5294800, at *1; accord In re EMC Corp., 501 F. App’x at 975–76.

       Indeed, if this case is transferred to the Austin Division and there has been no stay, Intel

will have been required to litigate in an inconvenient forum with no connection to the dispute, and

will potentially be forced to duplicate efforts and incur unnecessary expense if, for example, the

transferee court wishes to conduct its own claim construction hearing and analysis.2 Such prejudice

“cannot be put back in the bottle” and remedied after the fact. In re Volkswagen of Am., Inc., 545

F.3d 304, 319 (5th Cir. 2008) (en banc); accord In re Lloyd’s Register N. Am., Inc., 780 F.3d 283,

289 (5th Cir. 2015). This prejudice, however, can be minimized, if not completely prevented, by

granting a short stay. Accordingly, this factor strongly favors a stay.

               3.      A stay will conserve judicial resources.

       Finally, a stay pending a decision on transfer will conserve judicial resources by

minimizing the need for duplicative proceedings in both the transferor and transferee courts. See

In re Apple, 52 F.4th at 1362–63. As detailed above, significant events in this case are quickly

approaching, and the Markman hearing and opening of fact discovery are weeks away. As the

Federal Circuit explained, “judicial economy requires that another district court should not burden

itself with the merits of the action until it is decided that a transfer should be effected and such

consideration additionally requires that the court which ultimately decides the merits of the action


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  To the extent that Intel’s requested intra-district transfer here raises the possibility of the same
judge presiding over the case, that should not factor into the Court’s analysis. Such a possibility
appears remote: the standing order in this District assigns “[f]ifty percent (50%) of the civil docket
in the Austin Division” to each of the two active judges in the Austin Division. Amended Order
Assigning     the     Business     of    the     Court      (W.D.      Tex.     Dec.     16,    2022),
https://www.txwd.uscourts.gov/wp-content/uploads/2022/12/Amended-Order-Assigning-
Business-of-the-Court-121622.pdf. In any event, section 1404(a) is venue-focused, not judge-
focused, and the hardship of litigating substantive merits issues in a clearly more inconvenient
forum is prejudice that “cannot be put back in the bottle.” Volkswagen, 545 F.3d at 319.
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should also decide the various questions which arise during the pendency of the suit instead of

considering it in two courts.” Id. at 1363 (quoting McDonnell Douglas Corp. v. Polin, 429 F.2d

30, 30 (3d Cir. 1970)). This final factor, therefore, also favors a stay.

IV.    Conclusion

       For the foregoing reasons, Intel respectfully requests that the Court stay this case entirely

pending a decision on Intel’s motion for intra-district transfer.




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Dated: February 27, 2023               Respectfully submitted,

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                             CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule CV-7(i), counsel for Intel has conferred with counsel for Plaintiff

in a good-faith effort to resolve the matter presented herein. Plaintiff opposes the relief sought.

Accordingly, the motion is presented to the Court for resolution.

                                                     /s/ Zachary M. Briers
                                                     Zachary M. Briers



                                CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on February 27, 2023.

                                                     /s/ Andrew T. Nguyen
                                                     Andrew T. Nguyen




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